                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


JOHN DOE, et al.,                                )
                                                 )
      Plaintiffs,                                )
                                                 )
v.                                               )          NO. 3:18-cv-00471
                                                 )
STATE OF TENNESSEE, et al.,                      )          JUDGE CAMPBELL
                                                 )          MAGISTRATE JUDGE NEWBERN
      Defendants.                                )

                                             ORDER

          Pending before the Court is the Magistrate Judge’s Report and Recommendation (Doc. No.

36), which was filed on October 26, 2018. Through the Report and Recommendation, the

Magistrate Judge recommends the Court deny Plaintiff John Doe’s motions seeking a temporary

restraining order (Doc. No. 10), preliminary injunction (Doc. No. 11), and a hearing on those

motions (Doc. No. 29). Although the Report advised the parties that any objections must be filed

within 14 days of service, no objections have been filed.

          The Court has reviewed the Report and Recommendation, and concludes it should be

adopted and approved. Accordingly, Plaintiff John Doe’s motions seeking a temporary restraining

order (Doc. No. 10), preliminary injunction (Doc. No. 11), and a hearing on those motions (Doc.

No. 29) are DENIED.

          It is so ORDERED.

                                                     ________________________________
                                                     WILLIAM L. CAMPBELL, JR.
                                                     UNITED STATES DISTRICT JUDGE




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